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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

FREEDOM PATH, INC.,                       )
                                          )
                                          )
      Plaintiff,                          )
                                          )
      v.                                  )                   No. 1:20-cv-01349 (KBJ)
                                          )
INTERNAL REVENUE SERVICE, et al.          )
                                          )
      Defendants.                         )
_________________________________________ )


     DEFENDANTS’ RESPONSE TO PLAINTIFF’S NOTICE OF SUPPLEMENTAL
                             AUTHORITY

       Plaintiff Freedom Path recently drew this Court’s attention to the May 2022 Supreme

Court decision in FEC v. Ted Cruz for Senate, et al. See dkt. 39 (attaching slip op. of FEC v.

Ted Cruz for Senate, et al., 596 U.S. ____ (2022)). Freedom Path continues to mine the wrong

vein of case law in search of support for its position.

       In FEC v. Cruz, the majority and dissent both agreed that the law being challenged

abridged the freedom of speech. Slip op. (see dkt. 39-1) at 10 (“The Government seems to agree

with appellees that the loan-repayment limitation abridges First Amendment rights, at least to

some extent . . . and we reach the same conclusion.”) (citation omitted); slip. op. at 15 (“the

Government is defending a restriction on speech”); see also dissent at 4-5 (arguing that the

challenged law “entails only a marginal restriction” on speech).

       That is because, under Supreme Court jurisprudence, restrictions on campaign

contribution and campaign spending are, to varying degrees, restrictions on speech. See Buckley

v. Valeo, 424 U.S. 1, 23 (“In sum, although the Act’s contribution and expenditure limitations

both implicate fundamental First Amendment interests, its expenditure ceilings impose
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significantly more severe restrictions on protected freedoms of political expression and

association than do its limitations on financial contributions.”)

         Because it deals with a restriction on First Amendment rights, FEC v. Cruz is, in the

terrain of First Amendment law, already a chasm apart from what is at issue in this case, which is

not a restriction on speech at all. The IRS Revenue Ruling at issue here can help to guide the

decision whether to grant tax-exempt status to an organization. As explained in the

Government’s briefing, subject to narrow exceptions not applicable here, the Government’s

decision not to subsidize speech with a tax exemption “has not infringed any First Amendment

rights or regulated any First Amendment activity.” See, e.g., dkt. 35 (Gov’t Reply Br.) at 20-21

(citing, inter alia, Regan v. Taxation with Representation of Washington, 461 U.S. 540, 546

(1983)).

         Because the FEC v. Cruz case does not address conditions on a Government subsidy of

private speech, much less opine on the standard of “vagueness review” the Court should apply

when vetting these conditions, the FEC v. Cruz opinion has no bearing on the dispute before the

Court.



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DATED: June 2, 2022                DAVID A. HUBBERT
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